          Case 1:20-cv-03059-CAP-JKL Document 1 Filed 07/23/20 Page 1 of 8




1                        UNITED STATES DISTRICT COURT

2                       NORTHERN DISTRICT OF GEORGIA

3    THOMAS TEN PAS,                          )
                                              )
4                   Plaintiff,                ) PLAINTIFF’S COMPLAINT AND
                                              ) DEMAND FOR JURY TRIAL
5                    – vs –                   )
                                              )
6    FIRST NATIONAL BANK OF                   )
     OMAHA and EQUIFAX                        )
7    INFORMATION SERVICES, LLC,               )
                                              )
8                 Defendants.                 )

9
                                      COMPLAINT
10
          NOW COMES Plaintiff, THOMAS TEN PAS (“Plaintiff”), through his
11
     undersigned counsel, hereby alleges the following against Defendant, FIRST
12
     NATIONAL BANK OF OMAHA (“FNBO”) and Defendant EQUIFAX
13
     INFORMATION SERVICES, LLC (“EQUIFAX”).
14
                                   Nature of the Action
15
        1. This action is brought by Plaintiff pursuant to the Fair Credit Reporting Act,
16
           15 U.S.C. § 1681 et seq. (“FCRA”).
17
                                          Parties
18
        2. Plaintiff is a natural person residing in Pahoa, Hawaii and is otherwise sui
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20                                          -1-
                                 PLAINTIFF’S COMPLAINT
       Case 1:20-cv-03059-CAP-JKL Document 1 Filed 07/23/20 Page 2 of 8




1       juris. He is a “consumer” as defined by 15 U.S.C. § 1681a(c).

2    3. Defendant FNBO is a nationally chartered bank headquartered in Omaha,

3       Nebraska.

4    4. On information and belief, Defendant FNBO is a person who regularly and

5       in the ordinary course of business furnishes information to one or more

6       “consumer reporting agencies” regarding its transactions or experiences with

7       “consumers”.

8    5. On information and belief, this includes consumer reporting agencies such as

9       Experian Information Solutions, Inc (“Experian”), TransUnion, LLC

10      (“TransUnion”) and Defendant EQUIFAX.

11   6. Defendant EQUIFAX is a limited liability corporation headquartered in

12      Atlanta, Georgia.

13   7. Although Experian and TransUnion are not parties to this lawsuit, they are,

14      along with Defendant EQUIFAX, nationwide consumer reporting agencies

15      (“CRAs”) as defined by 15 U.S.C. § 1681a(f).

16   8. Defendant EQUIFAX, Experian, and TransUnion regularly engage in the

17      business of assembling, evaluating and distributing information concerning

18      consumers, such as Plaintiff, for the purpose of furnishing consumer reports

19      to third parties, as such are defined in 15 U.S.C. § 1681a(f).

20                                       -2-
                            PLAINTIFF’S COMPLAINT
       Case 1:20-cv-03059-CAP-JKL Document 1 Filed 07/23/20 Page 3 of 8




1                              Jurisdiction and Venue

2    9. Defendants conduct business Georgia and therefore personal jurisdiction is

3       established.

4    10. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1681p, which states

5       that such actions may be brought and heard before “any appropriate United

6       States district court without regard to the amount in controversy.”

7    11. Venue is proper in the United States District Court Northern District of

8       Georgia pursuant to 28 U.S.C § 1391b(3) because Defendant EXPERIAN

9       resides within this District and is subject to the Court’s personal jurisdiction

10      with respect to this action.

11                               Factual Allegations

12   12. On or around November 29, 2016, Plaintiff and Defendant FNBO agreed to

13      settle an outstanding debt owed by Plaintiff to Defendant FNBO on a credit

14      account ending in -2523 (the “Account”).

15   13. This agreement was memorialized in writing, which detailed the terms of the

16      agreement, including the payment schedule.

17   14. On or around February 7, 2017, Plaintiff timely made the final payment

18      pursuant to the settlement agreement, thereby resulting in a zero-balance

19      owed to Defendant FNBO on the Account.

20                                        -3-
                            PLAINTIFF’S COMPLAINT
       Case 1:20-cv-03059-CAP-JKL Document 1 Filed 07/23/20 Page 4 of 8




1    15. Despite Plaintiff’s performance under the terms of the agreement, Defendant

2       FNBO reported incorrect information regarding the Account. Specifically,

3       Defendant FNBO reported monthly payment information inconsistent with

4       the settlement.

5    16. On or around February 7, 2020, Plaintiff informed Defendant EQUIFAX, via

6       its electronic dispute portal, of incorrect information being reported on the

7       Account. Specifically, Plaintiff requested Defendant EQUIFAX investigate

8       the payment history.

9    17. On information and belief, Defendant EQUIFAX, pursuant to its

10      responsibility in 15 U.S.C. § 1681i, notified Defendant FNBO of the disputed

11      accuracy of the information they provided concerning Plaintiff.

12   18. Upon being notified by Defendant EQUIFAX, Defendant FNBO was

13      required, pursuant to 15 U.S.C. § 1681s(2)(b), to (A) conduct an investigation

14      with respect to the disputed information; (B) review all relevant information

15      provided by the CRA; (C) report the results of the investigation to the CRA;

16      and (D) if the investigation found information was incomplete and

17      inaccurate, report such results to all CRAs to which Defendant FNBO

18      previously provided information.

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20                                       -4-
                            PLAINTIFF’S COMPLAINT
       Case 1:20-cv-03059-CAP-JKL Document 1 Filed 07/23/20 Page 5 of 8




1    19. Following the dispute, additional incorrect information was reported that is

2       inconsistent with the settlement agreement. Specifically, the Account was

3       reported as 60, 90, and 120 days late during the months of February, March,

4       and April 2020, respectively.

5    20. This information is incorrect and is at odds with the zero balance that was

6       obtained via Plaintiff’s performance of the settlement terms in February

7       2017.

8    21. Therefore, Defendant FNBO being notified of the reporting of incorrect

9       information, subsequently and willingly failed to conduct a genuine

10      investigation into Plaintiff’s disputes, review all relevant information

11      provided to it, and report the results to the CRAs to which it provided said

12      information. If Defendant FNBO would have complied with its statutory

13      duties, additional incorrect information would not have been reported.

14   22. Further, upon being notified by Plaintiff of inaccurate information,

15      Defendant EQUIFAX, pursuant to 15 U.S.C. § 1681e(b), was required to

16      follow reasonable procedures to assure maximum possible accuracy in the

17      preparation of the credit report and credit files it published and maintained

18      concerning Plaintiff. Defendant EQUIFAX failed to do so. If Defendant

19      EQUIFAX would have complied with its statutory duties, incorrect

20                                      -5-
                           PLAINTIFF’S COMPLAINT
       Case 1:20-cv-03059-CAP-JKL Document 1 Filed 07/23/20 Page 6 of 8




1       information concerning Plaintiff would not have been reported despite notice

2       from Plaintiff.

3    23. As a result of this conduct and action and inaction of Defendants, Plaintiff

4       suffered damage by loss of the ability to purchase and benefit from credit,

5       and mental and emotional distress.

6                          FIRST CAUSE OF ACTION

7    DEFENDANT FNBO VIOLATED THE FCRA 15 U.S.C. § 1681s-2(b)

8    24. Plaintiff repeats and incorporates by reference into this cause of action the

9       allegations set forth above at Paragraphs 1-23.

10   25. Defendant FNBO’s violations of the FCRA include, but are not limited to,

11      the following:

12     a. Defendant violated §1681s-2(b)(1)(A) of the FCRA by failing to conduct

13        an investigation with respect to the information disputed by Plaintiff;

14     b. Defendant violated §1681s-2(b)(1)(B) of the FCRA by failing to review all

15        relevant information provided by the consumer reporting agency pursuant

16        to 15 U.S.C. § 1681i; and

17     c. Defendant violated §1681s-2(b)(1)(C) and (D) of the FCRA by failing to

18        report the results of the investigation to the CRAs, since the information is

19        incomplete and/or inaccurate.

20                                        -6-
                            PLAINTIFF’S COMPLAINT
           Case 1:20-cv-03059-CAP-JKL Document 1 Filed 07/23/20 Page 7 of 8




1                             SECOND CAUSE OF ACTION

2       DEFENDANT EQUIFAX VIOLATED THE FCRA 15 U.S.C. § 1681e(b)

3        26. Plaintiff repeats and incorporates by reference into this cause of action the

4           allegations set forth above at Paragraphs 1-23.

5        27. Defendant EQUIFAX’s violations include, but are not limited to, the

6           following:

7          a. Defendant violated §1681e(b) of the FCRA by failing to establish or to

8             follow reasonable procedures to assure maximum possible accuracy in the

9             preparation of the credit report and credit files it published and maintains

10            concerning Plaintiff.

11                               PRAYER FOR RELIEF

12         WHEREFORE, Plaintiff prays that judgment be entered against Defendants

13   for the following:

14                              FIRST CAUSE OF ACTION

15       28. Statutory damages of $1000.00 pursuant to 15 U.S.C. § 1681n(a)(1)(A);

16       29. Punitive damages as the Court may allow pursuant to 15 U.S.C. §

17          1681n(a)(2);

18       30. Reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1681n(a)(3);

19          and

20                                           -7-
                                PLAINTIFF’S COMPLAINT
       Case 1:20-cv-03059-CAP-JKL Document 1 Filed 07/23/20 Page 8 of 8




1    31. Awarding such other and further relief as may be just, proper and equitable.

2                           SECOND CAUSE OF ACTION

3    32. Statutory damages of $1,000.00 for each Defendant pursuant to 15 U.S.C. §

4       1681n(a)(1)(A);

5    33. Punitive damages as the Court may allow pursuant to 15 U.S.C. §

6       1681n(a)(2);

7    34. Reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1681n(a)(3);

8       and

9    35. Awarding such other and further relief as may be just, proper and equitable.

10                             JURY TRIAL DEMAND

11   36. Plaintiff demands a jury trial on all issues so triable.

12                                        RESPECTFULLY SUBMITTED,

13
       Dated: July 22, 2020                      By: Chaka Michael Douglas
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                             PLAINTIFF’S COMPLAINT
